Case 1:10-cv-21107-ASG Document 113 Entered on FLSD Docket 02/17/2012 Page 1 of 2




                                 UNITED STATES DISCTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                            CASE NO.: 1:10-CV-21107-ASG/GOODMAN

  QBE INSURANCE CORPORATION
  a/s/o BRICKELL BAY PLAZA, L.L.C.
  as Assignee of the Club at Brickell
  Bay Plaza Condominium
  Association, Inc.,

        Plaintiff,
  vs.

  JORDA ENTERPRISES, INC. d/b/a
  JORDA MECHANICAL
  CONTRACTORS

       Defendant.
  ____________________________/

                   PLAINTIFF, QBE INSURANCE CORPORATION’S
                NOTICE OF COMPLIANCE WITH COURT ORDER D.E. 110

        Plaintiff, QBE INSURANCE CORPORATION, by and through undersigned

  counsel, hereby gives notice of compliance with the Court’s Order Requiring

  Submission of Courtesy Copies [D.E. 110] by delivering the requested documents by

  Courier to the Court on Friday, January 17, 2012.

                                                          Respectfully submitted,

                                                          BERK, MERCHANT & SIMS, PLC

                                                          /s/Melissa M. Sims________
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Case 1:10-cv-21107-ASG Document 113 Entered on FLSD Docket 02/17/2012 Page 2 of 2

  QBE INSURANCE vs. JORDA ENT., etc.
  CASE NO.: 10-21107-CIV-GOLD
  PAGE 2

                                        CERTIFICATE OF SERVICE

         I hereby certify that on February 17, 2012, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on
  the List below in the manner specified, either via transmission of Notices of Electronic
  Filing generated by CM/ECF or in some other authorized manner for those counsel or
  parties who are not authorized to receive electronically Notices of Electronic Filing.

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